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UNITED STATES BANKRUP'I`CY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

 

in Re:
Case #: 14-04375
Andrea J. Averill, Chapter 13 Proceeding
Filed: June 26, 2014
Debtor.

/ Hon. vlohn T. Gregg

SECOND POST~CONFIRMATION STIPULATON AMENDING PLAN

This Stipulation is entered into by Andrea Averill, Debtor, the Debtor’S Attorney, Stephen C.
Corwin, and Brett N. Rodgers, Chapter 13 Trustee.

l. Debtor filed the Chapter 13 proceeding on June 26, 2014. The plan Was confirmed on
October 28, 20l4.

2. Debtor petitioned Court (cloc 57) to sell rental property and order (doc 65} allowing
for such sale was entered on l\/Iareh 12, 2018.

3. Debtor has sold rental property located at 350 N. Fifth Ave., Fruitport, Ml 49415, with
net proceeds of said sale turned over to Trustee.

4. Debtor, by and through counsel, and Chapter l3 Trustee hereby stipulate and agree
that general unsecured creditors shall be paid interest at the rate of l% (one percent).

 

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Elizabeth ciaI~I/< (P69084)

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